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 1 D. Andrew Gaona (028414)
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 6
   Attorneys for Plaintiff Aden Ramirez
 7
 8                           UNITED STATES DISTRICT COURT

 9                                   DISTRICT OF ARIZONA

10 Julieta Bencomo, Dr. George Brooks, Sandra  )        No. 2:90-cv-0369-PHX-GMS
   Kennedy, Joe Eddie Lopez, Hilda Ortega-     )
11 Rosales, Samuel Peter Ramirez, Fernando     )        NOTICE REGARDING
12 Ruiz, Pastor Warren Stewart and Winston     )        CANDIDACY OF PLAINTIFF
   Tease,                                      )        ADEN RAMIREZ
13                                             )
                       Plaintiffs,             )
14
                                               )
   vs.                                         )
15
                                               )
16 Phoenix Union High School District No. 210, )
   et al.,
17                                             )
                     Defendants.               )
18
19         On December 12, 2024, this Court (1) permanently enjoined a canvass of the November
20 5, 2024 election for the two at-large members of the Phoenix Union High School District
21 Governing Board, (2) ordered the County to conduct a special election on March 11, 2025, and
22 (3) further ordered that “the four candidates who qualified for the general election . . . are the
23 candidates for the special election.” [Dkt. 151 at 7] As the Court will recall, Plaintiff Aden
24 Ramirez opposed this relief. [Dkt. 144]
25         Due to new professional considerations, Mr. Ramirez provides notice that he no longer
26 wishes to stand for election to the Phoenix Union High School District Governing Board and
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 1 intends to withdraw from that race. Undersigned counsel spoke yesterday with the County’s
 2 counsel to obtain the necessary withdrawal paperwork, which Mr. Ramirez will promptly
 3 execute once in hand. And if this new development requires any modification of the Court’s
 4 December 12, 2024 order [Dkt. 151], Mr. Ramirez has no objection.
 5        Respectfully submitted this 20th day of December, 2024.
 6                                         COPPERSMITH BROCKELMAN PLC
 7
                                           By /s/ D. Andrew Gaona
 8                                                 D. Andrew Gaona
                                                   Austin C. Yost
 9                                                 Kelleen Mull

10                                           Attorney for Plaintiff Aden Ramirez

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